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March 23, 2017


BY ELECTRONIC FILING

Clerk of Court
United States District Court
for the Eastern District of Virginia
Albert V. Bryan United States Courthouse
401 Courthouse Square
Alexandria, VA 22314

Re: In re Subpoena to Testify at a Deposition Issued to Thomas Jefferson High School for
     Science & Technology; Nonparty Thomas Jefferson High School’s Motion to Quash

Dear Sir or Madam:

We are initiating a miscellaneous action by filing electronically (1) Nonparty Thomas Jefferson High
School’s Motion to Quash Subpoena to Testify at a Deposition and (2) Nonparty Thomas Jefferson
High School’s Brief in Support of its Motion to Quash Subpoena to Testify at a Deposition. We also
are submitting the required filing fee.

As set forth in the above-referenced documents, the subpoena that Thomas Jefferson High School
seeks to quash relates to a matter pending in the United States District Court for the District of
Massachusetts. The place of compliance is within the jurisdiction of this Court.

We will serve the initiating documents, the Motion to Quash and Brief in Support of the Motion to
Quash, by private process server. Please issue a summons for service on Students for Fair
Admissions, Inc. at the following address:

             Students for Fair Admissions, Inc.
             National Corporate Research, LTD.
             250 Browns Hill Court
             Midlothian, VA 23114

If you have any questions or need any additional information, feel free to contact me at (703) 610-
6194.

Sincerely,




Christopher T. Pickens
christopher.pickens@hoganlovells.com
D (703) 610-6194

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